
Mr. Justice Thacher
delivered the opinion of the court.
This is an indictment preferred by the grand jury of Monroe county against John Bradley. The indictment charges the accused with an assault and battery with a deadly weapon, upon a certain slave, “ with the intent to commit manslaughter.”
This indictment can be construed only to be an indictment for an aggravated assault. It is not an indictment for an assault with an intent to kill, by which is understood and has been held, an intent to murder.
The evidence, that of a single witness only, shows that the defendant below was seen with a knife in his hand in pursuit of the slave when he was stopped by the witness, and that he then made threats against the life of the slave.
The evidence is entirely insufficient to warrant the conviction, and the judgment of the circuit court was erroneous.
The judgment must be reversed and a new trial awarded in Monroe circuit court.
